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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                        25-mj-8066-RMM
                               Case No. _______________________



                                                                                    SP
UNITED STATES OF AMERICA

v.
                                                                           Feb 7, 2025
FREDI VAZQUEZ-GARCIA,

             Defendant.                                                                West Palm Beach


__________________________________/

                                   CRIMINAL COVER SHEET

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                                                 Respectfully submitted,

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                                           BY: _________________________________
                                               KATIE SADLO
                                               ASSISTANT UNITED STATES ATTORNEY
                                               Florida Bar No.    1026417
                                               500 South Australian Avenue, Suite 400
                                               West Palm Beach, Florida 33401
                                               7HO    (561) 209-1043
                                               )D[    (561) 805-9846
                                               (PDLO Katie.Sadlo@usdoj.gov
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________

                  United States of America                        )
                             v.                                   )
                FREDI VAZQUEZ-GARCIA,                             )      Case No. 25-mj-8066-RMM
                                                                  )
                                                                                                                    SP
                                                                  )
                                                                  )
                           Defendant(s)                                                                  Feb 7, 2025

                                                   CRIMINAL COMPLAINT                                                  West Palm Beach




         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 February 6, 2025              in the county of            Palm Beach                      in the
     Southern          District of           Florida          , the defendant(s) violated:

            Code Section                                                    Offense Description
8 U.S.C. § 1326(a)                            Illegal Re-entry After Deportation or Removal.




         This criminal complaint is based on these facts:
See Attached Affidavit.




         ✔ Continued on the attached sheet.
         u



                                                                                             Complainant’s signature

                                                                                   Deportation Officer Andy Korzen, ICE
                                                                                              Printed name and title
Sworn to and attested to me by applicant by
telephone (Facetime) per the requirements of
Fed. R. Crim. P.4 (d) and 4.1.

Date:
                                                                                                Judge’s signature

City and state:                      West Palm Beach, FL                         Ryon M. McCabe, U.S. Magistrate Judge
                                                                                              Printed name and title
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                                  AFFIDAVIT
                                      OF
                                 ANDY KORZEN
               UNITED STATES DEPARTMENT OF HOMELAND SECURITY
                   IMMIGRATION AND CUSTOMS ENFORCEMENT

              I, Andy Korzen, being duly sworn, depose and state as follows:

              1.     I am a Deportation Officer with the Immigration and Customs

    Enforcement (ICE) and have been so employed for over twenty-one years. I am currently

    assigned to the ICE Enforcement and Removal Operations, West Palm Beach, Florida.

    My duties and responsibilities include enforcing criminal and administrative immigration

    laws of the United States. I have also conducted and participated in investigations of this

    nature.

              2.     This affidavit is based upon my own knowledge as well as information

    provided to me by other law enforcement officers. This affidavit does not set forth every

    fact known to me regarding the investigation but only those facts necessary to establish

    probable cause to believe that Fredi VAZQUEZ-GARCIA, also known as Fredy

    Rodimiro VASQUEZ-GARCIA committed the offense of illegal re-entry after removal,

    in violation of Title 8, United States Code, Section 1326(a).

              3.     On or about February 6, 2025, Fredi VAZQUEZ-GARCIA was arrested in

    Palm Beach County, Florida on outstanding warrant for violation of probation on prior

    driving under the influence conviction. He was booked and detained at the Palm Beach

    County Jail.

              4.     A review of the immigration records shows that Fredi VAZQUEZ-

    GARCIA is a native and citizen of Guatemala. Records further show that on or about

    December 2, 2009, Fredi VAZQUEZ-GARCIA was ordered removed. The Order of



                                                  1
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    Removal was executed on or about November 3, 2010, whereby Fredi VAZQUEZ-

    GARCIA was removed from the United States and returned to Guatemala.

           5.      Fredi VAZQUEZ-GARCIA’s fingerprints taken in connection with his

    February 6, 2025, arrest in Palm Beach County were scanned into the IAFIS system.

    Results confirmed that scanned fingerprints belong to the individual who was previously

    removed from the United States, that is Fredi VAZQUEZ-GARCIA.

           6.      A record check was performed in the Computer Linked Application

    Informational Management System to determine if Fredi VAZQUEZ-GARCIA filed an

    application for permission to reapply for admission into the United States after

    deportation or removal. After a search was performed in that database system, no record

    was found to exist indicating that Fredi VAZQUEZ-GARCIA obtained consent from the

    Attorney General of the United States or from the Secretary of Homeland Security, for

    re-admission into the United States as required by law.




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           7.      Based on the foregoing, I submit that probable cause exists to believe that,

    on or about February 6, 2025, Fredi VAZQUEZ-GARCIA, an alien who has previously

    been deported and removed from the United States, was found in the United States

    without having received the express consent from the Attorney General or the Secretary

    of the Department of Homeland Security for re-admission into the United States, in

    violation of Title 8, United States Code, Section 1326(a).



                                                 _______________________________
                                                 Andy Korzen
                                                 Deportation Officer
                                                 Immigration and Customs Enforcement


    Sworn and Attested to me by Applicant by Telephone (Facetime) pursuant to Fed. R.
    Crim. P. 4(d) and 4.1 this ______ day of February 2025.




                                          _____________________________________
                                          RYON M. McCABE
                                          UNITED STATES MAGISTRATE JUDGE




                                                 3
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  Defendant's Name:       FREDI VAZQUEZ-GARCIA

  Case No:     25-mj-8066-RMM

  Count #: 1

  Illegal Re-entry After Deportation or Removal

  8 U.S.C. § 1326(a)
  * Max. Term of Imprisonment: 2 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 1 year
  * Max. Fine: $250,000
  * Special Assessment: $100




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
